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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

   Godo Kaisha IP Bridge 1,                            §
                                                       §
          Plaintiff,                                   §
                                                       §
          v.                                           §       Case No. 2:16-cv-134-JRG-RSP
                                                       §
   Broadcom Limited et al.,                            §
                                                       §
          Defendants.                                  §
                                                       §
                                                       §

                                                ORDER

          Before the Court is Defendants’ Motion to Strike Certain Assertions Under the Doctrine of

   Equivalents From Plaintiff’s Expert Reports (Dkt. No. 196) (the “Motion”). The Motion is

   DENIED.

          Defendants claim that IP Bridge violated Patent Local Rule 3-1(d) by failing to disclose

   certain doctrine of equivalents (“DOE”) arguments prior to serving its expert reports. Rule 3-1(d)

   requires that parties alleging infringement identify “[w]hether element of each asserted claim is

   claimed to be literally present or present under the DOE in the Accused Instrumentalities” in its

   infringement contentions. Defendants point out that IP Bridge’s infringement contentions disclose

   DOE arguments for some limitations but not others. They urge the Court to strike expert opinions

   for those DOE arguments not disclosed because a party cannot introduce theories of infringement

   for the first time in an expert report. See, e.g., ROY–G–BIV Corp. v. ABB, Ltd., 63 F. Supp. 3d 690,

   699 (E.D. Tex. 2014) (“Expert infringement reports may not introduce theories not previously set

   forth in infringement contentions.”). Specifically, Defendants request the Court strike (1) DOE

   opinions relating to infringement of the “second L-shaped sidewalls” limitation in claim 1 of the

   ’174 Patent under the doctrine of equivalents and (2) DOE opinions of relating to the “dry-etching”
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   limitation in claim 13 of the ’696 patent and the “s is less than m” limitation in claim 21 of the

   ’729 patent.

          First, Defendants argue that Dr. Schubert’s DOE analysis for the “second L-shaped

   sidewalls” limitation in Claim 1 of the ’174 Patent consists of a single conclusory sentence.

   Plaintiff responds Dr. Schubert’s doctrine of equivalents analysis for the “second L-shaped

   sidewalls” is the substantially the same as his analysis for the “first L-shaped sidewalls.” Dr.

   Schubert states as much in his report. After providing evidence that the first and second L-shaped

   sidewalls have the “same sidewall structure,” he concludes that “[s]ince the interconnection and

   the gate electrode have the same sidewall structure, all of the arguments above in connection with

   the first L-shaped sidewall limitation also apply to the second L-shaped sidewall limitation.”

          Defendants portray this analysis as inadequate, but the Court disagrees. The purpose of

   both expert reports and infringement contentions is to provide the opposing party notice. See Smith

   & Nephew, Inc. v. Arthrex, Inc., 2010 WL 457142, at *8 (E.D. Tex. Feb. 5, 2010); Fenner

   Investments, Ltd. v. Hewlett-Packard Co., 2010 WL 786606, at *2 (E.D. Tex. Feb. 26, 2010). To

   that end, Dr. Schubert may incorporate his DOE analysis of the “first L-shaped sidewalls” for the

   “second L-shaped sidewalls,” so long as his report provides notice. It must be sufficiently clear

   that the expert is incorporating analysis and the analysis incorporated must be sufficiently clear.

   Even if the “first” and “second” sidewalls are distinct limitations and separate structures, Plaintiff’s

   expert may refer back to his DOE analysis for a first structure corresponding to a first limitation

   in analyzing a second structure corresponding to a second limitation, so long as both structures are

   the same with respect to the asserted basis for equivalence. Here, it is clear that Dr. Schubert is

   incorporating his “first L-shaped” sidewall analysis and that such analysis is sufficiently clear. Dr.

   Schubert puts forward extensive analysis that applies to an “L-shaped sidewall,” that the accused




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   first and second sidewalls in the accused products have the “same sidewall structure,” and that “all

   of the arguments above in connection with the first L-shaped sidewall limitation also apply to the

   second L-shaped sidewall limitation. This is sufficient. To require more defeats the notice

   function of expert reports and infringement contentions.

          Second, Defendants argue that IP Bridge introduces a doctrine of equivalents theory for

   the “dry-etching” and “s is less than m” terms for the first time in its expert reports. Plaintiff

   responds, that it did provide notice, and points to boilerplate statements in its infringement

   contentions as sufficient to put Defendants on notice:

          To the extent any claim limitation is found to not be literally present, IP Bridge asserts
          that such limitation is present under the doctrine of equivalents in each of the Accused
          Instrumentalities. By asserting that a claim element may be present under the doctrine of
          equivalents, IP Bridge does not waive its right to assert literal infringement of that claim
          element. Additional, exemplary information about infringement under the doctrine of
          equivalents is set forth in the attached claim charts.

   Plaintiff relies on a single case from this district in support of its position that boilerplate

   reservations are adequate. Bright Response, LLC v. Google, Inc., No. 2:07-CV-371-CE, 2010 WL

   11056580, at *1 (E.D. Tex. July 30, 2010). In Bright Response, the Court held that boilerplate

   language was sufficient to put Defendants on notice, and thus its DOE arguments were not waived.

   See id. at *3 (E.D. Tex. July 30, 2010). More recent precedents from this district and others

   suggest otherwise. See, e.g., Eolas Techs. Inc. v. Amazon.com, Inc., No. 6:15-CV-01038, 2016

   WL 7666160, at *3 (E.D. Tex. Dec. 5, 2016) (“Plaintiff's boilerplate language also does not reserve

   any special right for Plaintiff to assert DOE contentions at a time of its choosing.”); KI Ventures,

   LLC v. Fry's Electronics, Inc., 2014 WL 4236814, *7 (Fed. Cir. 2014); Baltimore Aircoil

   Company, Inc. v. SPX Cooling Technologies Inc., 2016 WL 4426681, *15-*16 (D. Md. 2016);

   Finjan, Inc. v. Proofpoint, Inc., 2015 WL 1517920 (N.D. Cal. Apr. 2, 2015); Lighting Ballast

   Control, LLC v. Philips Elecs. N. Am. Corp., 2011 WL 13128125, at *9 (N.D. Tex. May 4, 2011)



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   In light of these cases, the Court does not find that Plaintiff’s boilerplate reservation provides

   adequate notice under the Local Rules in this case.

          Plaintiff’s alternative argument, however, is somewhat more persuasive. Plaintiff argues

   that it should not be faulted for failing to develop its DOE theories beyond boilerplate prior to

   expert discovery because of fact discovery delays. For example, with respect to the ’696 patent,

   Plaintiff requested production of samples of the accused products, so that IP Bridge could do

   additional reverse engineering, but none was produced until December 12, 2016. Plaintiff also

   served an interrogatory requesting information that would allow it to determine which products to

   reverse engineer to further develop its DOE arguments. Plaintiff asserts that it did not receive the

   sample chips it needed until weeks prior to the fact discovery cutoff, and that Defendants did not

   fully respond to Plaintiff’s interrogatory until days before the close of fact discovery. Moreover,

   Plaintiff contends that similar information from Defendants’ supplier Taiwan Semiconductor

   Manufacturing Company Limited (“TSMC”) was not produced until the waning days of fact

   discovery. Plaintiff’s argument with respect to the ’729 patent is similar. It argues that much

   of the evidence it needed to develop its DOE infringement theories was produced in the final

   days of fact discovery.

          Defendants’ first response—that discovery disputes are not relevant to the analysis of

   whether IP Bridge complied with its obligations under the local rules—is stated without authority

   and is not persuasive. See, e.g., Lighting Ballast, 2011 WL 13128125 at *10. Discovery disputes

   often explain why a party may have acted diligently notwithstanding a violation of the local rules.

   In this case, Plaintiff has demonstrated that delay in receiving discovery contributed in part to a

   failure to expound upon its conclusory DOE theories. Defendants’ second response fares no better.

   Defendants argue that Plaintiff’s reliance on reverse engineering for the “dry-etching” elements of




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   the ’696 patent for its initial infringement contentions undermines Plaintiff’s argument that it

   needed discovery to further develop its DOE arguments. However, the discovery requested by IP

   Bridge may have facilitated additional or more detailed reverse engineering analysis or clarified

   what analysis IP Bridge needed to do in order to further expound upon its DOE theory.

          While the discovery delays may not excuse the Local Rule Rule violation on its own, the
   .
   Court is also persuaded that the prejudice from allowing Plaintiff to assert a DOE theory for the

   “dry-etching” and “s is less than m” terms is not substantial. Defendants had an opportunity to

   depose IP Bridge’s experts on these DOE theories. More important, Defendants do not identify

   anything they would have done differently. Thus, even though the Court finds that Plaintiff failed

   to timely disclose its DOE theories for the “dry-etching” and “s is less than m” terms, based on the

   facts presented by the parties, on balance the relevant factors do not favor exclusion of any expert

   testimony.

          The Motion (Dkt. No. 196) is DENIED.
           SIGNED this 3rd day of January, 2012.
           SIGNED this 27th day of April, 2017.




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                                                        ROY S. PAYNE
                                                        UNITED STATES MAGISTRATE JUDGE




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